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 8                                UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    UNITED STATES OF AMERICA                          No. 1:16-cr-00122-DAD-BAM-4
12                       Plaintiff-Respondent,
13           v.                                         ORDER SETTING BRIEFING SCHEDULING
                                                        AND DIRECTING GOVERNMENT TO
14    FRANCES GALVAN,                                   RESPOND
15                       Defendant-Movant.
16

17          Defendant-Movant Frances Galvan filed a motion to vacate, set aside, or correct a

18   sentence under 28 U.S.C. § 2255. (Doc. No. 338.) The court has screened the motion pursuant to

19   Rule 4 of the Rules Governing Section 2254 and Section 2255 Cases and has concluded that the

20   government should be ordered to respond to the motion. Accordingly, within forty-five (45) days

21   of electronic service of this order, the government shall file and serve a response to the pending

22   § 2255 motion. Any reply by Defendant-Movant shall be filed within thirty (30) days of the

23   filing and service of the government’s response.

24   IT IS SO ORDERED.
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        Dated:     April 2, 2019
26                                                      UNITED STATES DISTRICT JUDGE

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